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EXHIBIT E

ease 1:09-cv-00597-i_i\/iB-TCB Documem 41-6 Filed 10/23/09 Page 2 or 2 Pag%qsz‘#lzdel

Roth, Meiissa R.

From: isabel iVl Humphrey [isabel@hhylaw.com]
Sent: Friday, October 02, 2009 8:03 PM

To: Dickinson, Nlichelle J.

Subject: RE: i_oomis |aptops

Niiche|le, |'ve reviewed your latest communication regarding the laptops. |'m glad we have finally resolved the
ownership issue P|ease have your computer tech call me to arrange a time to exchange the laptops. | will be in
the office most of the day ivionday and Tuesday.

l will respond to the other issues raised in your |etter, but obviously NE| is required to return Joe's property
immediately and unconditionally

isabel N|. i-|umphrey, Esq.

HUNTER, HUMPHREY & YAVlTZ, Pi_C
2633 E indian Schooi Rd, #440
Phoenix, Arizona 85016

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10/23/2009

